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            IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW JERSEY
  ______________________________________________
                                                    )
  IN RE: JOHNSON & JOHNSON                          )
  TALCUM POWDER PRODUCTS                            )
  MARKETING, SALES PRACTICES AND                    ) MDL Docket
  PRODUCTS LIABILITY LITIGATION                     ) No. 2738
  ______________________________________________ )
                                                    )
  This Document Relates To:                         )
                                                    )
  Bondurant v. Johnson & Johnson, No. 3:19-cv-14366 )
  Converse v. Johnson & Johnson, No. 3:18-cv-17586  )
  Gallardo v. Johnson & Johnson, No. 3:18-cv-10840  )
  Judkins v. Johnson & Johnson, No. 3:19-cv-12430   )
  Newsome v. Johnson & Johnson, No. 3:18-cv-17146   )
  Rausa v. Johnson & Johnson, No. 3:20-cv-02947     )
  ______________________________________________ )
       DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR
                     SUMMARY JUDGMENT

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                                             OTHER AUTHORITY

  Health Canada, Final Screening Assessment: Talc (Mg3H2(SiO3)4) (Chem.
        Abstracts Serv. Registry No. 14807-96-6) (Apr. 2021),
        https://www.canada.ca/en/environment-climate-
        change/services/evaluating-existing-substances/screening-assessment-
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        Plaintiffs’ 75-page opposition brief purports to “highlight[] the plethora of

  disputed material facts in this litigation” (Opp’n at 2), but the facts they identify

  are either undisputed or immaterial. Nothing in plaintiffs’ opposition brief refutes

  defendants’1 arguments that they are entitled to summary judgment on all of

  plaintiffs’ claims because: (1) plaintiffs cannot prove causation; (2) there is no

  evidence defendants made any express warranties or false statements on which

  plaintiffs relied; (3) plaintiffs’ theory of manufacturing defect sounds in design

  defect; (4) their concert of action, aiding and abetting and civil conspiracy claims

  are not independent claims and/or fail for lack of evidence; (5) there is no evidence

  capable of imposing punitive liability on defendants; (6) all of Ms. Converse’s

  claims are time-barred; (7) Ms. Gallardo’s warranty and fraud claims are stale; (8)

  Ms. Converse, Ms. Judkins and Ms. Rausa’s negligent misrepresentation claims

  fail for lack of a special relationship; and (9) Ms. Bondurant’s common-law claims

  are subsumed by the Louisiana Product Liability Act (“LPLA”).2


  1
        Due to a corporate restructuring, any talc liabilities formerly held by
  Johnson & Johnson Consumer Inc. were transferred to LTL Management LLC,
  which was subsequently known as LLT Management, LLC. Following a second
  and separate restructuring, talc liabilities for ovarian cancer and gynecological
  cancers are now held by Red River Talc LLC. Additional information concerning
  Red River can be found at https://dm.epiq11.com/case/redrivertalc/info.
  2
         Plaintiffs erroneously argue that Florida (not New York) is the “originating
  jurisdiction” for purposes of choice of law with respect to Ms. Rausa and supplies
  the substantive law for her claims because she “is a Florida resident who was
  diagnosed with                  in 2018” in that state. (Opp’n at 3 n.5.) However,
                                                                                    (cont’d)
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I.    ALL OF PLAINTIFFS’ CLAIMS FAIL BECAUSE THEY CANNOT
      PROVE CAUSATION.
      As explained in defendants’ opening brief, plaintiffs have no competent

expert evidence of either general or specific causation. (See Mot. at 7-16.) In

response, plaintiffs argue that defendants’ arguments are “premature” because the

Court has not yet resolved the parties’ Daubert motions. (See Opp’n at 7-8.) But

this argument makes no sense given that defendants’ motion incorporates those

motions by reference. (See Mot. at 8, 9, 13.) By so doing, defendants are simply

asking the Court to grant them summary judgment for lack of causation in the

event it grants any or all of those motions. This is a common ground for summary

judgment. See, e.g., Dymnioski v. Crown Equip. Corp., No. 11-3696, 2013 U.S.

Dist. LEXIS 73667, at *24-25 (D.N.J. May 24, 2013) (simultaneously granting

motions to exclude under Rule 702 and for summary judgment); Harrison v. BP

Expl. & Prod. Inc., No. 17-4346, 2022 U.S. Dist. LEXIS 116498, at *18-19 (E.D.

La. July 1, 2022) (“Because Cook’s general causation opinions are excluded,


the originating jurisdiction in this litigation “is the place where the plaintiff
purchased and used defendants’ baby powder.” In re Johnson & Johnson Talcum
Powder Prods. Mktg., Sales Pracs., & Prods. Liab. Litig., MDL No. 2738, 2024
U.S. Dist. LEXIS 5040, at *11-12 (D.N.J. Jan. 9, 2024); see also In re Takata
Airbag Prods. Liab. Litig., 255 F. Supp. 3d 1241, 1256 (S.D. Fla. 2017) (Florida’s
choice-of-law rules weighed in favor of applying the law of the state in which the
allegedly defective vehicles were purchased). Tune v. Philip Morris Inc.—where
the “conduct causing injury occurred in Florida for several years prior to the
medical diagnosis”—is not to the contrary. 766 So. 2d 350, 355 (Fla. Dist. Ct.
App. 2000) (cited in Opp’n at 3 n.5).

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[d]efendants are entitled to summary judgment on [p]laintiff’s claims.”). To the

extent plaintiffs actually address the record regarding general and specific

causation, their arguments lack merit.

      A.     Plaintiffs Cannot Prove General Causation.
      As explained in defendants’ opening brief, plaintiffs do not have valid

scientific evidence that talc-based products can cause ovarian cancer. (See Mot. at

7-10.) In response, plaintiffs argue that the literature “supports a finding of general

causation” and claim that certain regulatory authorities and professional

organizations have endorsed their theory of causation. (See Opp’n at 9-12.) As

defendants have previously explained, however, none of these scientific studies or

regulatory bodies has reached the conclusion that perineal talc use can cause

ovarian cancer. (See ECF 33109 at 2.) To the contrary, even plaintiffs’ principal

study (O’Brien 2024) explicitly cautioned that its imputed “results do not establish

causality and do not implicate any speciﬁc cancer-inducing agent.” (Id. at 33

(emphasis added).)

      Similarly, the Health Canada Assessment that has been touted by plaintiffs

and their experts only reported that there is a “potential” risk posed by perineal talc

use.3 Moreover, Health Canada essentially concedes that key Bradford Hill factors


3
      Health Canada, Final Screening Assessment: Talc (Mg3H2(SiO3)4) (Chem.
Abstracts Serv. Registry No. 14807-96-6), at 43 (Apr. 2021),
                                                                                 (cont’d)


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are not satisfied: the “pooled ORs from available meta-analyses” (which “ranged

from 1.22 to 1.35”) “would not be considered ‘large’”4 (strength); the data from

cohort and case-control studies are generally inconsistent5 (consistency); “none” of

the data reporting an increased risk “demonstrated both a clear dose-response trend

and statistical significance”6 (dose-response); and studies finding talc in ovarian

tissue in support of the theory that talc can migrate to the ovaries are prone to

“sample contamination”7 (biological plausibility). In short, plaintiffs’ own

evidence undermines their theory of causation, and there can be no expert battle

before a jury when one side has “failed to put forth competent evidence with which

to create a conflict.” In re Baycol Prods. Litig., 596 F.3d 884, 892 (8th Cir. 2010)

(affirming grant of summary judgment entered after excluding “weak scientific

evidence”).

      B.      Plaintiffs Cannot Prove Specific Causation.
      Plaintiffs also have no competent evidence of specific causation. While

plaintiffs point to a relative risk of 1.3 to 1.6 in some papers, that is less than a




https://www.canada.ca/en/environment-climate-change/services/evaluating-
existing-substances/screening-assessment-talc.html.
4
      Id. at 29-30.
5
      Id. at 31.
6
      Id. at 33.
7
      Id. at 34.

                                            4
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doubling of the risk, which means—as a matter of basic statistics—that most

people exposed to talc who develop ovarian cancer would have developed the

disease anyway, precluding specific causation. (Mot. at 13.) Plaintiffs do not

address this dispositive point in their opposition. Instead, they claim that “the issue

of specific causation is one for the jury.” (Opp’n at 15.) But the authority

plaintiffs cite does not support that proposition. One “assum[ed] the admissibility

of” the expert testimony on specific causation in a case involving carbon monoxide

poisoning, Buzzerd v. Flagship Carwash of Port St. Lucie, Inc., No. 3:06-0981,

2009 WL 105501, at *10 (M.D. Pa. Jan. 16, 2009) (cited in Opp’n at 15), while the

other merely rejected the defendant’s “single” argument that a plaintiff was

required to quantify the precise dosage of silica to which he was exposed as a

result of his wearing a purportedly defective respirator, see Rothenbecker v. 3M

Co., No. 17-0585, 2018 WL 3007896, at *3 (M.D. Pa. June 15, 2018). While

plaintiffs also provide a list of so-called “disputed material facts” for each plaintiff

(see Opp’n at 15-19), that list only underscores the inadmissibility of their experts’

specific causation opinions.

       Linda Bondurant. Plaintiffs contend that their expert, Dr. Judith Wolf,

states in her report that                      —the subtype Ms. Bondurant

developed—has been associated with genital talc use. (See Opp’n at 16.) But, as

Dr. Wolf herself admits, this claim is essentially made up because it is based



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primarily on studies that “lumped clear-cell with endometrioid and other

subtypes,” and is contrary to the many studies that address clear cell carcinoma

specifically and found no association. (Dep. of Judith Wolf (“9/14/21 Wolf Dep.”)

478:7-10, Sept. 14, 2021 (Opp’n Ex. 81).) Similarly, while plaintiffs argue that the

question whether Ms. Bondurant’s usage of talc before her

was sufficient to cause her                   “is a disputed fact” (Opp’n at 16), that

procedure occurred approximately 31 years before her                       diagnosis—

well outside plaintiffs’ experts’ proffered 15-20-year latency period. (9/14/21

Wolf Dep. 634:5-7.) And plaintiffs do not address how they could possibly prove

that talc caused Ms. Bondurant’s                          given her undisputed history

of               —which has been associated with a 900% increased risk of clear

cell carcinoma of the ovary. (See Mot. at 15.)

      Hilary Converse. Plaintiffs reassert their erroneous claim about the

supposed “association” between talc and                           (the subtype Ms.

Converse developed). (See Opp’n at 16.) Plaintiffs also highlight the number of

years Ms. Converse used the Products, but do not explain how either is “material”

to defendants’ specific causation argument. (Id.)8 And while plaintiffs suggest


8
       Plaintiffs also assert that Ms. Converse “is currently 75 years old, not 85 as
Defendants contend.” (Opp’n at 16.) But according to her own Plaintiff Profile
Form, Hilary Converse’s date of birth is                     , making her 82 years
old, as defendants stated in their Statement of Uncontested Material Facts. (See H.
                                                                                  (cont’d)


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there is a dispute about whether Ms. Converse had                  (see id.), her own

expert, Dr. Daniel Clarke-Pearson, admitted that there was evidence of

               in Ms. Converse’s medical records. (See Dep. of Daniel L. Clarke-

Pearson 366:13-22, Aug. 26, 2021 (Mot. Ex. 16).)

      Anna Gallardo. Plaintiffs do not dispute that Ms. Gallardo stopped using

talc 25 years before she was diagnosed with                  , which is well outside

the latency period for ovarian cancer, according to plaintiffs’ own expert. (Mot. at

16.) Nonetheless, they argue that defendants’ “latency period argument is not

dispositive.” (Opp’n at 17.) Because Ms. Gallardo’s only specific causation

expert, Dr. Wolf, has taken the position that it takes between 15-20 years for talc to

cause ovarian cancer, the onus was on plaintiffs to explain this clear disconnect

with the specific circumstances of Ms. Gallardo’s alleged talc exposure. Their

failure to do so highlights why Dr. Wolf’s latency period opinion precludes them

from proving specific causation.

      Tamara Newsome. Plaintiffs assert that the literature supports an

association between cosmetic talc use and                                —the

subtype Ms. Newsome developed. (See Opp’n at 17.) However, numerous studies

reporting on relative risk by ovarian cancer subtype have found no statistically


Converse PPF at 2 (Mot. Ex. 31).) In any event, plaintiffs do not explain how any
purported difference in age has any bearing on defendants’ specific causation
arguments.

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significant increased risk of endometrioid cancer, including a recent study co-

authored by a plaintiffs’ expert in talc litigation (OR: 1.26; 95% CI: 0.94-1.69).

(See Mot. at 15.) While plaintiffs also insist that there is a “dispute” as to whether

Ms. Newsome has a history of                     (Opp’n at 17), Ms. Newsome’s

treating physician, Dr. Steren, described the

                in his operative notes, which is a finding consistent with

              . (NewsomeT-WHSMR-00017 (Mot. Ex. 42).) And plaintiffs’ claim

that there is a “dispute” over Ms. Newsome’s          (see Opp’n at 18), is simply

belied by Dr. Clarke-Pearson’s own opinion that Ms. Newsome’s “[i]ncreasing

age” and          contributed to her developing                 . (Dep. of Daniel L.

Clarke-Pearson 590:9-14, Aug. 27, 2021 (Ex. 1 to Decl. of Jessica Davidson

(“Davidson Decl.”)) (age); Dep. of Daniel L. Clarke-Pearson 321:3-12, Mar. 8,

2024 (Davidson Decl. Ex. 2)            ).)

      Pasqualina Rausa. Plaintiffs contend that the date of Ms. Rausa’s

                   is “disputed.” (Opp’n at 18.) But Ms. Rausa clearly swore in

her Plaintiff Profile Form and then reiterated under oath during her deposition that

she                                    . (See P. Rausa PPF at 3 (Mot. Ex. 43); Dep.

of Pasqualina Rausa 85:9-20, Jan. 27, 2021 (Davidson Decl. Ex. 3).) While

plaintiffs point to testimony from Dr. Clarke-Pearson suggesting that the

might have occurred in 2010 (see Opp’n at 18), he misread a clear-cut medical



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record listing Ms. Rausa’s                     as occurring in 2010, not her

        . (See PRAUSAPL-000027 (Davidson Decl. Ex. 4).) In any event,

plaintiffs do not address Dr. Clarke-Pearson’s failure to rule out Ms. Rausa’s other

known risk factors for                 , including age,                    ,          ,

                                                                                    —the

latter of which has been shown in some scientific literature to nearly double an

individual’s risk of ovarian cancer. (See ECF 33007-1 at 2-3.)

      Carter Judkins. Plaintiffs appear to argue that the question of specific

causation “is a disputed fact” because defendants’ motion does not specifically

mention this plaintiff in their causation section. (Opp’n at 17.) But defendants’

motion clearly explains that plaintiffs’ experts did not reliably “rule in” talc as a

potential cause of any plaintiff’s ovarian cancer; nor did they reliably “rule out”

potential alternative causes. (See Mot. at 13-14.) In so explaining, defendants

specifically incorporated by reference their motion to exclude the specific

causation opinions of Dr. Wolf, where they argued that she failed to “rule out” Ms.

Judkins’                           as a potential cause of her                      and her

age of 60 at the time of diagnosis. (Id. at 14 (citing ECF 33003).)

      As the aforementioned discussion illustrates, plaintiffs highlight facts that

are not “material” to defendants’ specific causation arguments or assert, without

any explanation, that those arguments turn on “disputed” facts. Accordingly,



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plaintiffs have not carried their burden of creating a genuine dispute of material

fact on specific causation.

II.   DEFENDANTS ARE ALSO ENTITLED TO SUMMARY JUDGMENT
      ON EACH OF PLAINTIFFS’ CLAIMS FOR ADDITIONAL
      REASONS.
      A.     Plaintiffs’ Express Warranty And Fraud-Based Claims Fail For
             Additional Reasons.

             1.     Plaintiffs Cannot Prove Any False Statement Or Omission
                    Of Material Fact.
      Plaintiffs argue that “courts have found that advertisements and marketing

materials can support breach of express warranty” and fraud-based causes of

action. (Opp’n at 21.) But defendants’ argument is that plaintiffs have, at most,

identified vague statements about safety and efficacy in marketing as opposed to

specific misstatements in those promotional materials. See Baptist v. C.R. Bard,

Inc., No. 17-12718, 2018 WL 1843937, at *4 (E.D. La. Apr. 17, 2018) (rejecting

statements that a product is “‘safe’ or ‘effective and safe for its intended use’”).

Indeed, plaintiffs’ own authority recognizes that “[g]eneral representations about

‘safety’ and ‘protection’ are not enough to create an express warranty.” Nuwer v.

FCA US, LLC, No. 20-60432, 2023 WL 8724014, at *8-9 (S.D. Fla. Sept. 29,

2023) (cited at Opp’n at 22 n.58).

      That is exactly the kind of generic statements highlighted in plaintiffs’

opposition. For example, plaintiffs point to marketing that “cultivated an image of

trust” by “us[ing] language that portrayed talcum powder as ‘safe,’ ‘natural,’ and

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‘pure.’” (Opp’n at 22 (citation omitted).)9 Similarly, plaintiffs reference “ads

talking about The Products being safe and effective” and that supposedly

“encourag[ed] the use of The Products on babies.” (Id. at 23.) Under plaintiffs’

own authority, these are, at most, “[g]eneral representations about ‘safety’ and

‘protection,’” which “are not enough to create” actionable express warranties,

much less fraudulent statements. See Nuwer, 2023 WL 8724014, at *8-9.

      Moreover, plaintiffs ignore defendants’ argument that, even if vague

statements about safety could ever be actionable, there is no evidence that they

were untrue here given the ongoing scientific debate as to talc’s purported

carcinogenicity. (See Mot. at 20-22.) While plaintiffs may disagree with

defendants’ interpretation of the literature, defendants’ statements about “scientific

conclusions” are not actionable misstatements. See ONY, Inc. v. Cornerstone

Therapeutics, Inc., 720 F.3d 490, 497-98 (2d Cir. 2013). Plaintiffs’ failure to

address this argument effectively concedes it and warrants summary judgment on

this basis alone.




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       While plaintiffs also claim defendants’ description of asbestos in talc as an
“urban legend” on its website “Facts About Talc” supports their fraud-based claims
(see Opp’n at 27), the website was created well after any of the bellwether
plaintiffs stopped using the Products and is thus irrelevant.

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             2.    Plaintiffs Cannot Prove Reliance Or That Any Statement
                   Was The Basis Of Their Bargain.
      Plaintiffs separately fail to establish that Ms. Converse and Ms. Bondurant

ever saw any alleged warranty or false statement and cannot tie any marketing

supposedly seen by the other plaintiffs to their purchasing decisions. (See Mot. at

22-24.) While plaintiffs highlight testimony from Ms. Converse that she “looked

at the back of the bottle from time to time” (Opp’n at 22), and otherwise “just felt

very comfortable with [the Products]” (Dep. of Hilary Converse 180:21-181:3,

Dec. 1, 2020 (Opp’n Ex. 33) (cited in Opp’n at 22-23)), such testimony does not

identify “what specific statements were made” to Ms. Converse, much less those

that affected her purchasing decision. See Hunte v. Abbott Lab’ys, Inc., 556 F.

Supp. 3d 70, 89-90 (D. Conn. 2021) (dismissing express warranty claim for failure

to identify “what specific statements were made” to plaintiff). Plaintiffs argue that

because Ms. Bondurant “died before being able to identify her exposure” to

marketing, the court should just assume defendants’ marketing affected her use and

purchase of the Products. (Opp’n at 23.) But that is not the proper standard. To

withstand summary judgment, plaintiffs must adduce evidence that Ms. Bondurant

actually “read and relied on” such marketing. Batoh v. McNeil-PPC, Inc., 167 F.

Supp. 3d 296, 315-16 (D. Conn. 2016) (granting summary judgment on marketing




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claims because there was no evidence that decedent “ever saw a Motrin

advertisement”).10

      As for Ms. Gallardo and Ms. Judkins, plaintiffs point to testimony

purportedly showing that they “saw advertisements” that made them “think the

product was safe.” (Opp’n at 23 (Ms. Judkins); see also id. (Ms. Gallardo “chose

the product . . . because she trusted Defendants” and “looked at ads talking about

The Products being safe and effective”).) Plaintiffs also highlight testimony

claiming that Ms. Rausa and Ms. Newsome “saw advertisements” showing the

Products “being used on babies,” which gave them “[t]he impression” that the

Products were safe. (Id. (emphasis added).) But under plaintiffs’ own authority,

express warranty and fraud require reliance on specific factual representations, not

impressions from generalized statements of safety and efficacy. See Hunte, 556 F.

Supp. 3d at 89-90, 93 (cited at Opp’n at 22 n.58) (dismissing express warranty case




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       Plaintiffs’ reliance on Ferlanti v. Liggett Group, Inc., 929 So. 2d 1172 (Fla.
Dist. Ct. App. 2006), is misplaced. There, the court of appeal reasoned that a
plaintiff’s “lack of knowledge concerning what her husband relied on and what he
discussed with his children . . . d[id] not conclusively establish that the decedent
did not rely on any statements or omissions.” Id. at 1175 (emphasis added). Even
assuming that such reasoning were a correct statement of Florida’s standard
governing summary judgment, it does not reflect the relevant standard in federal
court. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986) (“The mere
existence of a scintilla of evidence in support of the plaintiff’s position will be
insufficient . . . .”).

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premised on “general marketing materials” because plaintiff failed to identify

“what specific statements were made” to him that he relied on) (citation omitted).

      Finally, the Court should reject plaintiffs’ attempt to bootstrap their failure-

to-warn claims into actionable express warranty and fraud-based causes of action

by highlighting testimony to the effect that two plaintiffs would not have used the

Products had they contained a cancer warning. (See Opp’n at 23.) Even as to

those two plaintiffs (Ms. Converse and Ms. Gallardo), “omissions are not

affirmative representations of any sort and thus cannot support a warranty claim,

because express warranties must be explicit.” Cambridge Eng’g, Inc. v.

Robertshaw Controls Co., 966 F. Supp. 1509, 1524 (E.D. Mo. 1997) (citation

omitted). Nor can plaintiffs establish that defendants fraudulently concealed the

“possible link between talc and ovarian cancer” based on defendants’ allegedly

“targeted marketing of The Products to . . . obese, African American, and Hispanic

women.” (Opp’n at 27.) After all, there is no evidence that any of these plaintiffs

saw any of this marketing, much less that it affected their decision to purchase the

Products. See Morris v. Biomet, Inc., 491 F. Supp. 3d 87, 105-06 (D. Md. 2020)

(granting summary judgment on concealment claim where plaintiff neither relied

on nor “view[ed] any marketing materials or other information about Biomet hip

replacements prior to her surgery”). In short, defendants are entitled to summary




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judgment, regardless of whether plaintiffs are challenging defendants’ alleged

misrepresentations or their purported failure to disclose.

      B.     Plaintiffs Have No Evidence Of A Manufacturing Defect.
      Plaintiffs’ manufacturing-defect claims fail because they have no evidence

that the Products that allegedly caused their cancers deviated from their intended

design. (See Mot. at 24-25.) In response, plaintiffs argue that because the

Products were contaminated with “asbestos, heavy metals . . . [and] fragrance

chemicals,” they “were not within Defendants’ manufacturing specifications.”

(Opp’n at 31, 35.) But plaintiffs’ theory is that all of “The Products” were

defective because the talc in them contained these substances. (Opp’n at 31.) As

plaintiffs’ own authority recognizes, such evidence is not capable of proving that

the Products “deviated in any way from the manufacturer’s production standards or

from the manufacturer’s otherwise identical products.” Stahl v. Novartis Pharms.

Corp., 283 F.3d 254, 263 (5th Cir. 2002) (emphasis added) (cited in Opp’n at 29)

(affirming grant of summary judgment on manufacturing defect claim based on

theory that the “active ingredient can be dangerous to the liver”).

      C.     Defendants Are Entitled To Summary Judgment On Plaintiffs’
             Claims For Assumption Of Duty, Civil Conspiracy, Aiding And
             Abetting, And Concert Of Action.

             1.    Assumption Of Duty, Civil Conspiracy, Acting In Concert,
                   And Aiding And Abetting Are Not Independent Claims.




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      Plaintiffs do not argue that acting in concert is a freestanding cause of action

and therefore forfeit that claim. With respect to assumption of duty and

conspiracy, plaintiffs’ own cases treat these as theories for holding parties liable on

some other cause of action, with one expressly dismissing conspiracy when

erroneously framed as an independent claim. See, e.g., Sheard v. Bank of Am.,

N.A., No. 11-3082, 2012 WL 3025119, at *3 n.3 (D. Md. July 23, 2012)

(dismissing civil conspiracy claim because it “cannot be brought as [an]

independent cause[] of action”); E.G. Rock, Inc. v. Danly, 633 A.2d 485, 490-93

(Md. Ct. Spec. App. 1993) (mentioning assumption of duty in discussion of

negligence jury instruction and section titled “The Negligence Issue”).11 And

while plaintiffs cite Missouri caselaw recognizing a freestanding claim for aiding

and abetting, more recent authority from the Eighth Circuit affirmed the dismissal

of an aiding-and-abetting claim, explaining that “with little guidance in an



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       See Bowan ex rel. Bowan v. Express Med. Transp., Inc., 135 S.W.3d 452,
454 (Mo. Ct. App. 2004) (“negligence action”); Carignan v. N.H. Int’l Speedway,
Inc., 858 A.2d 536, 540 (N.H. 2004) (can “establish that the defendant owed a duty
to the plaintiff” “to prove actionable negligence”) (citation omitted); Bujol v.
Entergy Servs., Inc., 922 So. 2d 1113, 1129 (La. 2004) (where duty is assumed,
“liability may be created by a negligent breach of that duty”); Goldberg v. Fla.
Power & Light Co., 899 So. 2d 1105, 1110-15 (Fla. 2005) (relevant to “[t]he
determination of the existence of a duty of care in a negligence action”); Harp v.
King, 835 A.2d 953, 972 & n.37 (Conn. 2003) (“there is no independent claim” for
conspiracy); Thames v. Thames, 196 So. 3d 653, 655 (La. Ct. App. 2016) (“The
actionable claim . . . is not the conspiracy itself, but rather the tort which the
conspirators agreed to perpetrate . . . .”).

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uncertain area” a federal court should “exercise[] caution in expanding state-law

theories of liability.” Jo Ann Howard & Assocs., P.C. v. Cassity, 868 F.3d 637,

651 (8th Cir. 2017) (Missouri law). This Court, sitting in diversity, should take the

same approach here.

             2.    Plaintiffs Cannot Prove Their Aiding And Abetting Or
                   Conspiracy Claims.

      Even if aiding and abetting or conspiracy were proper causes of action, any

claim predicated on interaction between J&J companies would fail under the intra-

corporate conspiracy doctrine, which provides that an “action by a corporation and

its wholly-owned subsidiaries” cannot constitute a conspiracy. Lima LS PLC v.

PHL Variable Ins. Co., No. 12-1122, 2013 WL 3327038, at *4 (D. Conn. July 1,

2013). Plaintiffs respond that some of defendants’ authorities barring intra-

corporate conspiracy theories involved statutory claims (Opp’n at 42), but all of

those cases addressed common-law causes of action (albeit sometimes alongside

statutory ones), and courts apply the doctrine in cases asserting only common-law

torts too, including one case plaintiffs themselves cite, Harp, 835 A.2d at 971-77.

      To the extent plaintiffs’ claims are predicated on relationships with non-J&J

parties, those relationships involve petitioning and speech protected by the First

Amendment and the Noerr-Pennington doctrine. Plaintiffs’ long recitation of

alleged facts makes clear that their conspiracy-related claims rest primarily on an

effort to petition the National Toxicology Program (“NTP”), an arm of the federal


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government. (See Opp’n at 45-55.) The rest depend on public “statements” about

the alleged “connection between talc and ovarian cancer.” (Id. at 44-45.)

Although plaintiffs argue that neither First Amendment protection nor the Noerr-

Pennington doctrine “extend to state products liability or personal injury cases”

(id. at 56), binding Third Circuit law applied “First Amendment” principles to bar

“conspiracy and concert of action claims” in a product liability suit, see In re

Asbestos Sch. Litig., 46 F.3d 1284, 1286 (3d Cir. 1994) (cited in Mot. at 29).

      Plaintiffs also claim “numerous” cases reject immunity “in these

circumstances” but cite only In re Tylenol (Acetaminophen) Marketing, Sales

Practices & Products Liability Litigation, 181 F. Supp. 3d 278 (E.D. Pa. 2016) and

Fox v. Johnson & Johnson, No. 1422-CC09012-01 (Mo. Cir. Ct. Jan. 26, 2016)

(Opp’n Ex. 68). In re Tylenol is inapposite because “[t]he plaintiff [was] not

seeking civil liability for the defendants’ petitioning activities, based on a theory of

conspiracy”; instead, the issue arose as part of a defense motion in limine to

exclude evidence used to show “knowledge, state of mind, or intent.” 181 F. Supp.

3d at 305-06. And Fox was reversed on appeal for lack of personal jurisdiction

and should not be followed. See Est. of Fox v. Johnson & Johnson, 539 S.W.3d

48, 50 (Mo. Ct. App. 2017).

      Finally, plaintiffs assert (without citation to authority) that any petitioning

was a “sham.” (Opp’n at 58.) A petition is only a sham if “the petitioner ‘could



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not reasonably expect success on the merits’” and the action was not “genuinely

directed toward obtaining the relief sought.” Campbell v. Pa. Sch. Bds. Ass’n, 336

F. Supp. 3d 482, 495 (E.D. Pa. 2018) (citation omitted). Here, plaintiffs’ own

evidence shows that defendants’ petitioning and speech was genuinely intended to

effect public and regulatory opinion, particularly the NTP’s.

             3.    Plaintiffs Cannot Prove Their Assumption Of Duty Claim
                   Against J&J.
      Plaintiffs contend that defendants assumed a duty with respect to talc by

“promoting the safety of [talcum powder] and engaging government agencies.”

(Opp’n at 38 (citing id. at 42-58).) However, none of that evidence implicates

J&J. Rather, plaintiffs rely mostly on actions by Imerys Talc America and on an

email from Dr. Steven Mann (Opp’n Ex. 60), a JJCI employee. Even if plaintiffs

had evidence of J&J’s involvement in promoting safety or petitioning the

government, such conduct would not create a duty to ensure the safety of a

subsidiary’s product. See Boone v. PepsiCo, Inc., 653 F. Supp. 3d 635, 651 (E.D.

Mo. 2023) (a parent company does not assume liability for the alleged mislabeling

of its subsidiary’s products merely because it is the parent company).

      D.     Plaintiffs Cannot Establish Entitlement To Punitive Damages.
      Plaintiffs argue that they “have clearly met” New Jersey’s high standard for

punitive damages because “J&J ignored evidence for over half a century that its

cosmetic talc powders . . . likely contained asbestos.” (Opp’n at 60.) However, as


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elaborated in defendants’ Rule 702 briefing (see ECF 33012-2), plaintiffs have no

reliable evidence that defendants’ talc products were ever contaminated with even

trace amounts of asbestos. Moreover, well regarded organizations such as the

FDA, American Cancer Society, NCI and CDC have all rejected plaintiffs’ causal

theories. (See Mot. at 32 n.37.) Even assuming that plaintiffs’ experts’ speculative

claims about asbestos and ovarian cancer supported compensatory liability, they

clearly do not constitute the kind of “direct, conclusive evidence” of causation that

courts generally require for punitive damages. Johnson & Johnson Talcum

Powder Cases (Echeverria v. Johnson & Johnson), 37 Cal. App. 5th 292, 332-33,

335 (2019) (upholding JNOV in favor of J&J under similar standard to New Jersey

because “[t]here was no substantial evidence to support a finding, by clear and

convincing evidence, of despicable conduct that JJCI carried out with a willful and

conscious disregard of the safety of others”).

      Ingham v. Johnson & Johnson, 608 S.W.3d 663 (Mo. Ct. App. 2020) (cited

in Opp’n at 63) is inapposite because the court applied Missouri law. Moreover,

even as to Missouri law, Ingham was wrongly decided because it completely

ignored longstanding precedent rejecting punitive liability where, as here, the

science regarding the plaintiffs’ causal theory “was still developing” and falls well

short of establishing “actual knowledge of the dangerous health hazards” being

alleged. Angotti v. Celotex Corp., 812 S.W.2d 742, 746-47, 750 (Mo. Ct. App.



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1991) (“[T]he record does not reflect that scientific knowledge even existed, at the

relevant times herein, to establish legal causation sufficient to submit punitive

damages against Celotex for the injuries of [plaintiff] as a result of his exposure . . .

to Celotex’s products.”). Further, to the extent Ingham distinguished Echeverria

on the ground that the plaintiffs had proven that “samples of [d]efendants’

[p]roducts contained asbestos,” based on Dr. Longo’s testing methods, see id. at

702-07, 719, that evidence should have been excluded and, in any event, does not

constitute “clear and convincing evidence” of “actual malice” or a “wanton and

willful disregard” of consumer safety. N.J. Stat. Ann. § 2A:15-5.12(a).

III.   CERTAIN OF PLAINTIFFS’ CLAIMS FAIL FOR OTHER
       REASONS.

       A.    The Claims Brought By Ms. Converse Are Time-Barred.
       As explained in defendants’ opening brief, Ms. Converse’s claims are stale

because she was diagnosed with                     in 2007 but did not file her lawsuit

until 2018, well outside the three-year limitations period. (Mot. at 33-35.) In

response, plaintiffs argue that Ms. Converse’s claims did not occur until 2017,

“when she came across an article or lawyer ad suggesting a link between Johnson’s

Baby Powder and ovarian cancer.” (Opp’n at 65.) But the standard is not when a

plaintiff subjectively discovers her litigation theory; rather, the limitations period

begins to run “when a party is aware or reasonably should have been aware of a

possible causal nexus.” Yarchak v. Trek Bicycle Corp., 208 F. Supp. 2d 470, 492


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n.11 (D.N.J. 2002) (construing Connecticut’s discovery rule) (emphasis added).

That clock started long before 2017 given Ms. Converse’s own allegation that

studies “suggest[ing] an association between talc and ovarian cancer” have existed

since at least 1971. (Compl. ¶¶ 104-108.)

      Plaintiffs’ claim that a “layperson with no medical background” would not

have reasonably discovered the existence of such literature (Opp’n at 65), is belied

by the fact that another plaintiff did so and sued defendants nearly a decade before

Ms. Converse. (See Mot. at 33-35 (citing Berg).) And while plaintiffs argue that

Berg is irrelevant “absent facts of how” the plaintiff “came to appreciate” the

purported link between the Products and ovarian cancer (Opp’n at 66), the point is

that such discovery was possible many years before 2017. Moreover, other

plaintiffs similarly commenced suit long before Ms. Converse, including 62

unrelated individuals who filed an action in July 2014 (see Petition, Swann v.

Johnson & Johnson, No. 1422-CC09326 (Mo. Cir. Ct. filed July 31, 2014)

(Davidson Decl. Ex. 5)), further highlighting the lack of reasonable diligence here.

      B.     Ms. Gallardo’s Claims For Fraud And Breach Of Warranty Are
             Time-Barred.

      Ms. Gallardo’s breach-of-warranty and fraud claims accrued in 1988, when

she stopped using the Products. Plaintiffs argue in response that defendants’

alleged “act of concealing the” purported risk of ovarian cancer tolled the

applicable statute of limitations until Ms. Gallardo saw “press coverage of a talc


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verdict in early 2016.” (Opp’n at 67, 68.) This argument misconstrues the

fraudulent concealment doctrine. “To avoid the running of the statute of

limitations, the fraudulent concealment ‘must be something more than mere silence

on defendant’s part.’” Owen v. Gen. Motors Corp., 533 F.3d 913, 919-20 (8th Cir.

2008) (citation omitted) (manufacturer’s “failure to notify [plaintiffs] that the

wiper control module could fail . . . [is] not so remarkable as to amount to

fraudulent concealment of the [plaintiffs’] breach of warranty claim”). But that is

all Ms. Gallardo is claiming here—i.e., that defendants “never placed warnings on

product packaging, never issued public statements, and never advised healthcare

practitioners” of the purported risk underlying this lawsuit. (Opp’n at 67.) In any

event, plaintiffs’ fraud claims are subject to “an absolute outside limitation period

of fifteen years for filing suit after commission of the fraud.” Buttice v. G.D.

Searle & Co., 938 F. Supp. 561, 568 (E.D. Mo. 1996). Plaintiffs ignore this

“absolute” bar, which forecloses Ms. Gallardo’s fraud claims, “regardless of the

time of discovery.” Id.

      C.     All Of Ms. Bondurant’s Claims Sounding In Fraud,
             Misrepresentation, Implied Warranty, Negligence And
             Conspiracy Are Subsumed By The LPLA.
      Plaintiffs do not dispute that Ms. Bondurant’s claims for fraud, implied

warranty, negligence and conspiracy “are barred by the LPLA if they accrued after

the LPLA’s 1988 enactment.” (Opp’n at 69.) Instead, they argue that “when Ms.



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Bondurant’s claims accrued . . . is a question of fact at this point in the litigation.”

(Id.) However, plaintiffs bear the “evidentiary burden” of establishing that Ms.

Bondurant’s tort claims accrued before the LPLA’s enactment with proof that her

exposure to the Products “was a significant cause of damage” giving rise to her

claims—i.e., that her         would have developed without any post-enactment

exposure. See Kemp v. Armstrong World Indus., 855 So. 2d 774, 778-79 (La. Ct.

App. 2003) (ruling at summary judgment that non-LPLA claims were subsumed

where there was insufficient “factual support to establish that appellant’s exposure

to tobacco smoke prior to September 1988 was a significant cause of damage that

manifested in lung cancer in November 1997”). Indeed, plaintiffs cite cases

granting summary judgment for failing to satisfy this standard. See Moore v. BASF

Corp., No. 11-1001, 2012 WL 4928910, at *3-4 (E.D. La. Oct. 16, 2012) (claims

were subsumed because plaintiffs offered “no evidence that establishes the level of

[plaintiff’s] benzene exposure” before enactment and “no evidence that such a

level was significant and resulted in the later manifestation of his multiple

myeloma”).

      This case calls for the same result because plaintiffs have not presented any

evidence that Ms. Bondurant’s exposure to the Products prior to the enactment of

the LPLA was so “significant” that her                    , which was diagnosed in

2018, would have developed with no further exposure post-enactment. They



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simply claim that whether “her exposure was so significant” is a “factual issue

which cannot appropriately be determined on a motion to dismiss.” (Opp’n at 72.)

Even assuming that were the relevant standard at the pleading stage, plaintiffs now

must carry their “evidentiary burden” of proving that Ms. Bondurant’s tort claims

accrued prior to the LPLA’s enactment. Kemp, 855 So. 2d at 778.12

      D.     Plaintiffs Converse, Judkins And Rausa’s Negligent
             Misrepresentation Claims Fail For Lack Of A “Special
             Relationship.”

      Finally, several plaintiffs’ negligent misrepresentation claims separately fail

for lack of a “special relationship.”

      Ms. Converse. Plaintiffs argue that defendants’ possession of “unique or

specialized expertise” satisfies the “special relationship” standard set forth in

Dallas Aerospace, Inc. v. CIS Air Corp. (See Opp’n at 72-73 (quoting 352 F.3d

775, 788 (2d Cir. 2003)).) But Dallas Aerospace did not involve Connecticut law,

see 352 F.3d at 788, which requires a “closer degree of trust and reliance than in

the ordinary business relationship.” De La Concha of Hartford, Inc. v. Aetna Life

Ins. Co., No. CV980580129, 2002 WL 31170495, at *8 (Conn. Super. Ct. Aug. 23,

2002), aff’d, 849 A.2d 382 (Conn. 2004). Because plaintiffs are unable to identify

any evidence even suggesting such a confidential relationship between Ms.


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       For this reason, plaintiffs’ reliance on Smith v. 3M Co.—a case decided at
the pleading stage—is misplaced. No. 20-837, 2021 WL 4037494, at *5 (W.D. La.
Sept. 2, 2021).

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Converse and defendants, her negligent misrepresentation claim fails for this

reason as well.

      Plaintiff Judkins. Plaintiffs argue that Ms. Judkins is a “third-party

beneficiary” to a contract, such that a “special relationship” exists. (See Opp’n at

74 (citing Stillwater Condo. Ass’n v. Town of Salem, 668 A.2d 38, 40 (N.H.

1995)).) While the Stillwater Condo court recognized that a “special relationship”

“may extend to third party beneficiaries of a contract,” id. at 40 (emphasis added),

“the contract must show ‘that the parties considered the third party’s legal status

and intended to confer upon him a right to sue the promisor.’” Brooks v. Trs. of

Dartmouth Coll., 20 A.3d 890, 900-01 (N.H. 2011) (citation omitted). There is no

evidence that defendants were even aware of Ms. Judkins, much less that they

intended to confer any contractual rights on her with respect to the Products.

      Plaintiff Rausa. Plaintiffs argue that Florida law does not require proof of a

special relationship. (Opp’n at 73.) As already explained, however, Ms. Rausa’s

substantive claims are governed by New York law, which does require a “special

relationship such that privity of contract, or something approaching it, existed

between” the parties. Morrison v. Hoffmann-La Roche, Inc., No. 14-4476, 2016

U.S. Dist. LEXIS 135291, at *27-28 (E.D.N.Y. Sept. 29, 2016) (dismissing

negligent misrepresentation claim against remote manufacturers).




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                                CONCLUSION

      For these reasons, and the reasons explained in defendants’ opening brief,

the Court should grant summary judgment in favor of defendants.

      Dated: October 16, 2024                Respectfully submitted,

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